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Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

  JAMES HONE,                                       Case No: 2:20-cv-02754-KM-JBC

         Plaintiff,
                                                    NOTICE OF VOLUNTARY
         v.                                         DISMISSAL PURSUANT TO FED. R.
                                                    CIV. P. 41(a)(1)(A)(i)
   STEIN MART, INC., JAY STEIN, D. HUNT
   HAWKINS, MARYANN MORIN, IRWIN
   COHEN, THOMAS L. COLE, TIMOTHY
   COST, LISA GALANTI, RICHARD L.
   SISISKY, and BURTON M. TANSKY,

          Defendants.

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff James Hone hereby voluntarily dismisses the above-captioned action

without prejudice. Defendants have not served an answer or a motion for summary judgment.

Dated: May 18, 2020                              Respectfully submitted,

                                                 HALPER SADEH LLP

                                                 /s/Zachary Halper
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2020, a true and correct copy of the foregoing document
was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                                   /s/Zachary Halper
                                                   Zachary Halper




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